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                                                  The motion to intervene is DENIED.
                                                  SO ORDERED.
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